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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:17-cv-62320-UU

  ISEMONA MELIDOR,

         Plaintiff,

  v.

  OCWEN LOAN SERVICING, LLC, et al.,

         Defendants.
                                                /

                                             ORDER

         THIS CAUSE comes before the Court upon Defendant Deutsche Bank National Trust

  Company’s Motion to Dismiss (D.E. 14) and Defendant Ocwen Loan Servicing, LLC’s Motion

  to Dismiss (D.E. 15).

         THE COURT has considered the Motions, the pertinent portions of the record and is

  otherwise fully advised in the premises.

         For the reasons set forth below Deutsche Bank’s Motion is denied, and Ocwen’s Motion

  is granted in part and denied in part. Counts Two through Seven are dismissed without prejudice

  and with leave to amend for failure to adequately plead statutory damages. In all other respects,

  Ocwen’s Motion is denied.

                                   FACTUAL ALLEGATIONS

         Except as otherwise noted, the following facts are taken from the Complaint. D.E. 1.

         Plaintiff, Isemona Melidor, owns a home that she acquired with a loan secured by a

  mortgage. D.E. 1 ¶ 2–4. Defendant, Ocwen Loan Servicing, LLC (“Ocwen”), services the



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  mortgage. Id. ¶ 3. Defendant, Deutsche Bank National Trust Company (“Deutsche Bank”),

  owns it. Id. ¶ 4.

          Plaintiff alleges that she timely payed her monthly mortgage payments with automatic

  debits from her bank account. Id. ¶ 31. Nevertheless, without any prior notice or consent from

  Plaintiff, Ocwen automatically deducted $1,313.64 from Plaintiff’s account on July 2, 2015. Id.

  D.E. 32. Ocwen deducted additional sums on August 10, 2015. Id.. After the August 10

  deduction, Ocwen cancelled all of Plaintiff’s automatic payments and refused to accept any

  payments from her. Id. ¶ 33.

          On September 8, 2015, Ocwen sent Plaintiff a Notice of Default stating that she was

  $13,448.57 in arrears and that a foreclosure action could follow within fourteen days. Id. ¶ 34,

  Ex. 10. A week later, Ocwen sent Plaintiff a Pre-Foreclosure Referral Letter, stating that she was

  in default. Id. ¶ 35, Ex. 11. In response to this letter, Plaintiff sent Ocwen a letter disputing the

  balance due and requesting a verification of her alleged debt. Id. ¶ 37. In that letter, Plaintiff

  reminded Ocwen that in May, 2012, they had entered into a loan modification agreement and

  that Plaintiff had timely made all payments required under that agreement. Id. Plaintiff also

  notified Ocwen of the unauthorized charges debited from her account and its refusal to accept

  further payment from her. Id. Ocwen did not respond to Plaintiff’s dispute letter. Id. ¶ 38.

          On November 23, 2015, Ocwen filed a foreclosure complaint against Plaintiff claiming a

  default date of November 1, 2014. Id. ¶ 39. In July, 2016, Ocwen voluntarily dismissed that

  action for failure to include the modification agreement as part of the complaint. Id. ¶ 49.

          In December, 2015, Plaintiff sent Ocwen a Request for Information (“RFI #1”). Id. ¶ 41.

  Ocwen replied to this RFI on July 27, 2016, but did not provide all of the information requested.

  Id. ¶ 48.

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          On or about June 6, 2016, Plaintiff sent Ocwen a Notice of Error explaining that Ocwen

  failed to apply Plaintiff’s payments made pursuant to the loan modification agreement (“NOE

  #1”). Id. ¶ 45. Plaintiff also requested that Ocwen provide a transaction history for the loan,

  correspondence that Ocwen sent to Plaintiff, and information that Plaintiff previously requested

  but which Ocwen never sent. Id. Ocwen received NOE #1 on June 9, 2016. Id. ¶ 47. On July

  27, 2016, Ocwen sent a payment history, but provided no other information in response to NOE

  #1. Id. ¶ 121.

          On or about August 30, 2016, Plaintiff sent Ocwen a second Notice of Error and Request

  for Information (“NOE #2”). Id. ¶ 50, Ex. 19. NOE #2 stated that Ocwen failed to properly

  respond to RFI #1 and NOE #1. Id. Ocwen responded on September 30, 2016. Id. ¶ 55, Ex. 22.

  Ocwen’s response described, among other things, the origin and service history of the loan, and

  that it was modified in May, 2012. Id., Ex 22.

          On or about September 14, 2016, Plaintiff sent Ocwen a third Notice of Error (“NOE

  #3”). Id. ¶ 52, Ex. 20. It stated that Ocwen failed to accept Plaintiff’s payments, to apply

  payments to the balance of the loan, and to credit a payment to her loan as of the date of receipt.

  Id. It also stated that Ocwen failed to provide proper notice before filing a foreclosure action,

  included misleading charges on a pay-off quote, and charged late fees. Id. Plaintiff requested

  that Ocwen fix these errors, reinstate the loan, and pay $5,000 in damages. Id. Ocwen sent

  Plaintiff a five-page response to NOE #3 on October 3, 2016. Id. ¶ 57, Ex. 23.

          On September 28, Ocwen sent Plaintiff a Reinstatement Quote. Id. ¶ 54, Ex. 21. The

  Reinstatement Quote listed the balance Plaintiff had to pay to reinstate the loan. Id. It also

  included certain fees, but stated “repayment of [the fees] is not necessary to reinstate the loan at

  this time . . . .” Id.

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         Plaintiff sent Ocwen a fourth Notice of Error on or about June 28, 2017 (“NOE #4”). Id.

  ¶ 59, Ex. 24. NOE #4 listed numerous errors, but focused primarily on Ocwen’ s failure to

  provide Plaintiff with customer service notes. Id. Ocwen replied on or about August 8, 2017.

  Id. ¶ 63, Ex. 27. Among other things, the five-page response stated Ocwen would not provide

  customer service notes because “they are for internal purposes only.” Id.

         Plaintiff sent Ocwen a fifth Notice of Error on October 5, 2017. Id. ¶ 66–67, Ex. 28.

  NOE #5 largely reiterated the alleged errors of the previous NOEs, but described them in greater

  detail. Id. Ocwen sent Plaintiff a letter acknowledging receipt of NOE #5, on October 31. Id. ¶

  69, Ex. 30. Ocwen has not, however, provided a response. Id. ¶ 70.

         Plaintiff alleges that Ocwen’s errors and delay in correcting them has caused her the

  following harm: damage to her credit, legal fees, fees for mortgage advisors, the cost of sending

  the RFI and NOEs via certified mail, and emotional distress. Id. ¶¶ 72–76.

         Plaintiff alleges that Ocwen engages in a “pattern and practice” of violating Regulation X

  and the Real Estate Settlement Procedures Act (“RESPA”). Id. ¶ 78. In support of this

  allegation, Plaintiff alleges that Ocwen has several thousand complaints lodged against it with

  the Consumer Financial Protection Bureau (“CFPB”). Id. ¶¶ 79–80.

         Plaintiff brings seven claims against Defendants. In Count One, Plaintiff alleges that

  Ocwen and Deutsche Bank breached the loan agreement. Id. ¶ 83. Count One is the only claim

  against Deutsche Bank. In Count Two, Plaintiff claims that Ocwen violated 12 C.F.R. § 1024.41

  by initiating foreclosure proceedings when her mortgage was not 120 days delinquent. Id. ¶ 92–

  94. In Count Three, Plaintiff alleges that Ocwen violated 12 C.F.R. § 1024.36 by failing to




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  timely respond to her requests for information. Id. ¶¶ 98–100. In Counts Four through Seven, 1

  Plaintiff alleges that Ocwen violated 12 C.F.R. §1024.35(e) by failing to adequately respond to

  NOEs #1–4. Id. ¶¶ 116–164. In Count Eight, Plaintiff alleges that Ocwen violated the Florida

  Consumer Collections Practices Act (“FCCPA”) by attempting to collect on a debt it knew was

  not legitimate. Id. ¶ 201–203.

                                              LEGAL STANDARD

           Federal Rule of Civil Procedure 8(a)(2) provides that a plaintiff’s pleading “must

  contain . . . a short and plain statement of the claim showing that the pleader is entitled to relief.”

  Fed. R. Civ. P. 8(a)(2). The Supreme Court has stated that a plaintiff must submit “more than an

  unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

  678 (2009). In order “[t]o survive a motion to dismiss, a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id.

  (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

           In considering a motion to dismiss for failure to state a claim, the “plausibility standard is

  met only where the facts alleged enable ‘the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.’” Simpson v. Sanderson Farms, Inc., 744 F.3d

  702, 708 (11th Cir. 2014) (quoting Iqbal, 556 U.S. at 678)). “Where a complaint pleads facts

  that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between

  possibility and plausibility of ‘entitlement to relief.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

  550 U.S. at 557)). Although “[a] plaintiff need not plead ‘detailed factual allegations[,] . . . a

  formulaic recitation of the elements of a cause of action will not do,’” and the plaintiff must offer



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    Plaintiff incorrectly numbers her claims by calling two different claims “Count Six.” For the Court’s purposes, it
  refers to Plaintiff’s claim for failure to respond to NOE #4 as Count Seven, and her FCCPA claim as Count Eight.
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  in support of its claim “sufficient factual matter, accepted as true, to ‘raise a right to relief above

  the speculative level.’” Simpson, 744 F.3d at 708 (quoting Twombly, 550 U.S. at 555)).

                                              DISCUSSION

      I.       Deutsche Bank’s Motion to Dismiss Count I

            Deutsche Bank moves to dismiss Count I to the extent that it alleges that Deutsche Bank

  breached a contractually created fiduciary duty. D.E. 14, 27; see also D.E. 1 ¶¶ 87–88. Plaintiff

  responds that she is not alleging a breach of a fiduciary duty, but points instead to other alleged

  breaches. D.E. 18. In its reply, Deutsche Bank admits that Plaintiff alleges other non-fiduciary

  breaches, but argues that Count I should be dismissed to the extent it ostensibly asserts a breach

  of fiduciary duty claim.

            Given that the Parties agree that the Complaint does not allege a breach of a fiduciary

  duty, and given that the Parties agree that the Complaint alleges other breaches, dismissal of

  Count I is not warranted. The Court will, however, strike paragraphs 87 and 88, pursuant to Rule

  12(f).

      II.      Ocwen’s Motion To Dismiss Counts One through Seven

            A. Count One States a Claim

            Like Deutsche Bank, Ocwen moves to dismiss Plaintiff’s breach-of-contract claim on the

  grounds that it is premised on a breach of a nonexistent contractual fiduciary duty. Plaintiff

  again concedes that she is not bringing a breach of fiduciary duty claim, and Ocwen concedes

  that Plaintiff alleges other contract breaches. See D.E. 24, 31. Accordingly, the Court will not

  dismiss Count I, but will strike paragraphs 87 and 88.




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         B. Count Two Adequately Pleads Actual Damages

         In Count Two, Plaintiff alleges that Ocwen violated 12 C.F.R. section 1024.41, which

  makes it unlawful for a mortgage-loan servicer to file a foreclosure action unless the borrower’s

  repayment obligation is more than 120 days delinquent. See 12 C.F.R. § 1024.41(f)(1). Ocwen

  moves to dismiss this claim for failure to adequately plead actual damages.

         Under RESPA, a Plaintiff may recover “‘(A) any actual damages to the borrower as a

  result of the failure; and (B) any additional damages, as the court may allow, in the case of a

  pattern or practice of noncompliance with the requirements of this section.’” Renfroe v.

  Nationstar Mortg., LLC, 822 F.3d 1241, 1245–46 (11th Cir. 2016) (quoting 12 U.S.C. §

  2605(f)(1)). “[D]amages are an essential element in pleading a RESPA claim.” Id. at 1246.

  Actual damages arise “as a result of” the alleged violation, and therefore there must be a “causal

  link” between the alleged violation and the damages. Id.

         Ocwen argues that Plaintiff has failed to plead actual damages for two reasons. First,

  Plaintiff’s allegation that her credit suffered a “black mark” is insufficient. Second, Plaintiff’s

  allegation that she incurred attorney’s fees and costs as a result of the foreclosure cannot support

  her claim because she was already awarded attorney’s fees in the state-court foreclosure action.

  Plaintiff does not respond to Ocwen’s argument that an alleged “black mark” is not sufficient to

  plead actual damages. As to Ocwen’s second argument, Plaintiff states that she “is not asking

  for her attorney [sic] fees in defending the foreclosure matter.” D.E. 24, p. 4.

         The Court disagrees with Ocwen; Plaintiff has alleged actual damages. Plaintiff alleges

  that she incurred costs in hiring mortgage service professionals (not including her foreclosure-

  defense attorney) to assist her in her dealings with Ocwen. Id. ¶ 40, 74. She also incurred costs

  in sending each of the RFIs and NOEs, which she sent, at least in part, in response to the

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  foreclosure action. Id. ¶ 75. Finally, she alleges that she suffered emotional distress. 2 Id. ¶ 76.

  Accordingly, this claim (and for the same reasons, Plaintiff’s other RESPA claims) adequately

  plead actual damages.

          C. Counts Two Through Seven Fail to Plead Statutory Damages

          Ocwen moves to dismiss Plaintiff’s remaining RESPA claims for failure to adequately

  plead statutory damages. To recover statutory damages under RESPA, a plaintiff must plead a

  “pattern or practice of noncompliance.” 12 U.S.C. § 2605(f)(1); see also Mejia v. Ocwen Loan

  Servicing, LLC, 703 F. App’x 860, 864 (11th Cir. 2017). A pattern or practice requires that a

  plaintiff allege some RESPA violations “with respect to other borrowers.” Renfroe v. Nationstar

  Mortg., LLC, 822 F.3d 1241, 1247 (11th Cir. 2016) (citing Toone v. Wells Fargo Bank, N.A.,

  716 F.3d 516, 523 (10th Cir.2013)). There is no “magic number” of violations that creates a

  pattern or practice, but two are likely insufficient, whereas five are sufficient. Id. Here, Plaintiff

  does not allege any other RESPA violations “with respect to other borrowers.” Rather, she

  alleges that Ocwen has several thousand complaints lodged against it with the CFPB. D.E. 1 ¶

  79–80. She does not, however, allege that any of these complaints relate to RESPA violations.

  Another court in this Circuit has confronted this same issue, and the Court finds its reasoning

  persuasive:

          Simply, “complaints” do not equate to “noncompliance,” and the undersigned
          declines to speculate as to a threshold number of alleged consumer complaints
          that would sufficiently plead a pattern or practice of noncompliance. See Brooks
          v. Scheib, 813 F.2d 1191, 1193–1195 (11th Cir.1987) (in considering whether
          there was a pattern or practice of excessive force by police officers, “the number
          of complaints bears no relation to their validity” and it is the validity of an

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   The Eleventh Circuit has not stated definitively whether emotional damages are recoverable under RESPA but it
  has held that the term “actual damages” should be construed broadly and, “based on the interpretations of ‘actual
  damages’ in other consumer-protection statutes that are remedial in nature, plaintiffs arguably may recover for non-
  pecuniary damages such as emotional distress and pain and suffering, under RESPA.” McLean v. GMAC Mortg.
  Corp., 398 F. App’x 467, 471 (11th Cir. 2010). Accordingly, the Court will not bar Plaintiff from seeking emotional
  damages.
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         excessive force complaint that is pertinent). Bennett has offered no authority to
         support the proposition that alleging the existence of consumer complaints in the
         CFPB database is sufficient factual pleading to sustain a RESPA statutory
         damages claim. The Court is provided no information as to the author, date,
         details, merit, or resolution of these supposed complaints. This is exactly the type
         of barebones “pattern and practice” allegation that does not satisfy minimum
         pleading requirements for Rule 12(b)(6) purposes.

  Bennett v. Nationstar Mortg., LLC, No. CV 15-00165-KD-C, 2015 WL 5294321, at *12 (S.D.

  Ala. Sept. 8, 2015). For the same reasons, this Court finds that Plaintiff has failed to adequately

  plead statutory damages. The Court will dismiss these claims without prejudice and with leave

  to amend this deficiency.      Because this error is minor and relatively easy to correct (Plaintiff

  could, for example, review the complaints, which are publically available on the CFPB’s

  website) the Court will only grant leave to amend once. If Plaintiff fails to correct this error in

  the First Amended Complaint, the Court will dismiss these claims with prejudice. Additionally,

  in amending these allegations, Plaintiff may not simply allege that she has reviewed some of the

  CFPB complaints and found other alleged RESPA violations. She must provide, at least, the

  date and details of the complaints. The Court would find it helpful if Plaintiff attached them as

  exhibits to the First Amended Complaint.

         D. Counts III Through V Are Not Undermined by Ocwen’s Exhibit

         Ocwen moves to dismiss Counts III through V on the additional basis that, contrary to

  Plaintiff’s allegations, Ocwen did respond to RFI #1. Ocwen attaches its response to RFI #1 as

  an exhibit to its motion. Ocwen argues that the Court may consider the letter at the motion-to-

  dismiss stage because the Complaint expressly references it, it is central to Counts Three through

  Five, and its authenticity cannot be disputed. See, e.g., Maxcess, Inc. v. Lucent Technologies,

  Inc., 433 F.3d 1337, 1340 n. 3 (11th Cir. 2005). Ocwen is incorrect. First, the Complaint does

  not expressly reference the letter. On the contrary, the Complaint alleges that Plaintiff received

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  no response to RFI # 1. D.E. 1 ¶ 24. Additionally, the Court cannot conclude from the exhibit

  that Ocwen sent this letter or that Plaintiff received it. Discovery may yet prove Ocwen correct,

  but at this stage the Court cannot dismiss Counts Three through Five on this basis.

                                               CONCLUSION

            In light of the foregoing, it is hereby

            ORDERED AND ADJUDGED that Deutsche Bank’s Motion (D.E. 14) is DENIED. It is

  further

            ORDERED AND ADJUDGED that paragraphs 87 and 88 of the Complaint are

  STRICKEN. Plaintiff shall remove them when she files her amended complaint. It is further

            ORDERED AND ADJUDGED that Ocwen’s Motion (D.E. 15) is GRANTED IN PART

  AND DENIED IN PART. Counts Two through Seven are DISMISSED WITHOUT

  PREJUDICE. Plaintiff may file an amended complaint, if she wishes, to correct the deficiencies

  identified in this Order no later than Monday, March 5, 2018. It is further

            ORDERED AND ADJUDGED that the Initial Planning and Scheduling Conference in

  this matter is hereby RESET to Friday, March 23, 2018, at 10:00 A.M.

            DONE AND ORDERED in Chambers at Miami, Florida, this 25th__ day of February,

  2018.




                                                      __________________________________
                                                        UNITED STATES DISTRICT JUDGE

  cc: counsel of record via cm/ecf




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